            Case 19-34993-KRH                        Doc 175       Filed 12/11/20 Entered 12/11/20 18:51:35                                       Desc Main
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Fill in this information to identify the case:

Debtor name      Civitas Health Services, Inc. and LeMar Allen Bowers

United States Bankruptcy Court for the:      EASTERN DISTRICT OF VIRGINIA

Case number (if known)    19-34993 and 20-34139
                                                                                                                                   x      Check if this is an
                                                                                                                                          amended filing




Official Form 425A

Amended Joint Plan of Reorganization for Small Business Under Chapter 11
                      02/20

Joint Plan of Reorganization of Civitas Health Services, Inc. and LeMar A. Bowers, Dated December 11,2020
]
Background for Cases Filed Under Subchapter V
         A. Description and History of the Debtor's Business
              See Attached Exhibit A
         B. Liquidation Analysis
              To confirm the Plan, the Court must find that all creditors and equity interest holders who do not accept the Plan will receive at least as much under the
              Plan as such claim and equity interest holders would receive in a chapter 7 liquidation. A liquidation analysis is attached to the Plan as Exhibit B.
         C. Ability to make future plan payments and operate without further reorganization
              The Plan Proponent must also show that it will have enough cash over the life of the Plan to make the required Plan payments and operate the debtor’s
              business.
              The Plan Proponents have provided projected financial information as Exhibit C for the Corporate Debtor and Exhibit D for the Individual
              Debtor.
              The corporate plan Proponent’s financial projections show that the Debtor will have projected disposable income (as defined by § 1191(d) of the
              Bankruptcy Code) for the period described in § 1191(c)(2) of more than $1,100,000.00 over 5 years the individual Debtor’ schedules reflect $1,500 in
              disposable monthly income available for plan funding.
              The final Plan payment is expected to be paid on January 2026 .
              You should consult with your accountant or other financial advisor if you have any questions pertaining to these projections.


           Article 1: Summary
         This Plan of Reorganization (the Civitas Plan) under chapter 11 of the Bankruptcy Code (the Code) proposes to pay creditors of Civitas Health
         Services, Inc. (the Debtor) from [Specify sources of payment, such as an infusion of capital, loan proceeds, sale of assets, cash flow from operations, or future income].
         This Plan provides for:           10 classes of priority claims;
                                            5_ classes of secured claims*; (*Three nominally secured claims are either unperfected or trumped by the IRS secured
                                           claim.)
                                            1 class of non-priority unsecured claims; and
                                            1 classes of equity security holders.
         Non-priority unsecured creditors holding allowed claims will receive distributions, which the proponent of this Plan has valued at approximately 7 cents
         on the dollar. This Plan also provides for the payment of administrative and priority claims.
         All creditors and equity security holders should refer to Articles 3 through 6 of this Plan for information regarding the precise treatment of their claim.


         This Plan of Reorganization (the Bowers Plan) under Chapter 11 of the Bankruptcy Code (the Code) proposes to pay secured creditors of LeMar Allen
         Bowers (the Debtor) pursuant to his spouse’s Chapter 13 Plan in the case of In Re: Melanie Hall Bowers, Case No. 20-33854, pending in this Court.
         This Plan provides for:           1 classes of priority claims;
                                           5 classes of secured claims*; (*Three nominally secured claims are either unperfected or trumped by the IRS secured
                                           claim.)
                                            1 class of non-priority unsecured claims; and
         Non-priority unsecured creditors holding allowed claims will receive distributions, which the proponent of this Plan has valued at approximately 7 cents
         on the dollar. This Plan also provides for the payment of administrative and priority claims.
         All creditors and equity security holders should refer to Articles 3 through 6 of this Plan for information regarding the precise treatment of their claim.


         Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you have one. (If you do not have
         an attorney, you may wish to consult one.)


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           Name

            Article 2: Classification of Claims and Interests


The proponents have attached claim charts setting forth the claims against the Company and the individual as Exhibits E (corporate ),and F.(individual)..

2.01     Class 1: Priority prepetition
         Employee wages 507(a) (4)

2.02     Class 2: Priority Employee
         Benefits §507 (a)(5)
         (Anthem)
2.03     Class 3: Priority Employee
         Benefits §507(a)(5)(United
         Healthcare)
2.04     Class 4: IRS Priority taxes §
         507(a)(8)
2.05     Class 5: Henrico Cty
         507(a)(8)(B) (personal
         property)
2.06     Class 6: Henrico Cty (Bus
         lic) 507(a)(8)(A)

2.07     Class 7: City of VB
         507(a)(8)(A)
2.08     Class 8: City of Ches. (Bus
         lic) 507(a)(8)(A)
2.09     Class 9: VEC 507(a)(8)(A
         (Unemployment)
2.10     Class 10: VA Dept of Tax
         507(a)(8)(A (WH)
2.11     Class 11: IRS Secured
         Claim
2.12     Class 12: Direct Capital
         Secured Claims (autos)
2.13     Class 13: M&M Automotive
         Secured Claim (autos)
2.14     Claim 14: General
         unsecured claims and
         Nominally secured claims
         of Knight Capital, SPG
         Advance, Kabbage and On
         Deck Capital


            Article 3: Treatment of Administrative Expense Claims, Priority Tax Claims, and Quarterly and Court Fees


3.01     Unclassified claims             Under section § 1123(a)(1), administrative expense claims and priority tax claims are not typically in classes. Due to the
                                         number and diversity of priority claims the proponents have established classes for priority claims for clarity only.



3.02     Administrative expense          Each holder of an administrative expense claim allowed under § 503 of the Code will be paid in full on the effective date of
         claims                          this Plan, in cash, or upon such other terms as may be agreed upon by the holder of the claim and the Debtor.


3.03     Priority tax claims             Each holder of a priority tax claim will be paid pursuant to § 1129(a)(9)(C) of the Code.



3.04     Statutory fees                  All fees required to be paid under 28 U.S.C. § 1930 that are owed on or before the effective date of this Plan have been
                                         paid or will be paid on the effective date.


3.05     Prospective quarterly fees      All quarterly fees required to be paid under 28 U.S.C. § 1930(a)(6) or (a)(7) will accrue and be timely paid until the case is
                                         closed, dismissed, or converted to another chapter of the Code


            Article 4: Treatment of Claims and Interests Under the Plan



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4.01     Claims and interests shall be treated as follows under this Plan and
         pursuant to the attached Projection:


                                      Class                   Impairment        Treatment
                                      Class 1 - Priority      Impaired          Class 1 is unimpaired by this Plan. Each
                                      claims                                    holder of a Class 1 Priority Claim will be
                                      pre-petition
                                                              X                 paid in full, in cash, over the 6 months
                                      Employee Wage           Unimpaired        after the effective date..
                                      Class 2: Priority           Impaired   The Debtor asserts that a claim for
                                      Employee Benefits                      unpaid insurance premiums owed to a
                                      (Anthem)                    Unimpaired third party does not constitute an
                                                                             employee benefit obligation entitled to
                                                                             the priority claimed under 11USC. 507
                                                                             (a)(5) An objection will be filed seeking to
                                                                             treat this claim as general unsecured.
                                      Class 3: Priority           Impaired   The Debtor asserts that a claim for
                                      Employee Benefits                      unpaid insurance premiums owed to a
                                      (United health)             Unimpaired third party does not constitute an
                                                                             employee benefit obligation entitled to
                                                                             the priority claimed under 11USC. 507
                                                                             (a)(5 An objection will be filed seeking to
                                                                             treat this claim as general unsecured.
                                      Class 4: IRS Priority       Impaired   Priority tax claims are not typically
                                      Taxes                                  incorporated into classes. The Debtor
                                                                  Unimpaired classifies the claim here for clarity only.
                                                                             The Debtor proposes to pay the IRS
                                                                             claim, pursuant to 1192(a)(9)(c), in full
                                                                             over 5 years including escalating
                                                                             monthly payments as set forth in the
                                                                             budget plus semi-annual distributions of
                                                                             net operating income. The Debtor also
                                                                             proposes establishment of a capital
                                                                             reserve fund which may be tapped to
                                                                             make payments. In addition, LeMar
                                                                             Bowers, principal of the Debtor and Joint
                                                                             Proponent of this Plan has $,1,500 per
                                                                             month in Disposal Monthly Income which
                                                                             will be paid to the IRS claim for which he
                                                                             is personally liable. Although uncertain
                                                                             the Corporate Debtor also proposes
                                                                             payment of 25% net profits every 6
                                                                             months.
                                      Class 5: Class 5:           Impaired   Henrico County personal property tax
                                      Henrico Cty                            claim will be paid prorata with other
                                      (personal property)         Unimpaired property and business license taxes via
                                                                             pro rata distribution of $400per month.
                                      Class 6: Henrico            Impaired   Henrico County business license claim
                                      Cty (Bus Lic)                          will be paid prorata with other property
                                                                  Unimpaired and business license taxes via pro rata
                                                                             distribution of $400 per month
                                      Class 7: City of VB         Impaired   City of Virginia Beach personal property
                                                                             tax claim will be paid prorata with other
                                                                  Unimpaired property and business license taxes via
                                                                             pro rata distribution of $400 per month.
                                      Class 8: City of            Impaired   City of Chesapeake business license
                                      Ches. (Bus Lic)                        claim will be paid prorata with other
                                                                  Unimpaired property and business license taxes via
                                                                             pro rata distribution of $400 per month.
                                      Class 9: VEC                Impaired
                                      Unemployment
                                                                  Unimpaired
                                      Class 10: VA Dept           Impaired   The Virginia Department of Taxation
                                      of Tax (WH)                            claim for withholding taxes will be paid in
                                                                  Unimpaired monthly increments of$1,851.13 for 60
                                                                             months.
                                      Class 11: IRS               Impaired   The IRS secured claim will be paid in
                                      Secured Claims                         conjunction with payments of the IRS
                                                                  Unimpaired priority claim set forth above.




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                                      Class 12: Direct                 Impaired   The purchase money Secured Claim of
                                      Capital Secured                             Direct Capital will be paid in monthly
                                      Claims                           Unimpaired payments of $619, until paid in full.
                                      Class 13: M & M                  Impaired   The purchase money Secured Claim of
                                      Automotive                                  M&M Automotive will be paid in monthly
                                      Secured Claims                   Unimpaired payments of $84.11, until paid in full.
                                      Class 14: General                Impaired   General unsecured claims as well as
                                      unsecured claims                            nominally secured claims for which no
                                      and Nominally                    Unimpaired security interest was perfected, and
                                      secured claims of                           including perfected claims which are
                                      United Health Care,                         trumped by the IRS' NFTL are treated as
                                      Anthem, Capital,                            unsecured. The Debtor proposes paying
                                      SPG Advanced,                               $833.00 per month for 60 months of the
                                      Kabbage and On                              Plan.
                                      Deck Capital


            Article 5: Allowance and Disallowance of Claims


5.01     Disputed Claim               A disputed claim is a claim that has not been allowed or disallowed [by a final non-appealable order], and as to which either:
                                      (i) a proof of claim has been filed or deemed filed, and the Debtor or another party in interest has filed an objection; or
                                      (ii) no proof of claim has been filed, and the Debtor has scheduled such claim as disputed, contingent, or unliquidated.


5.02     Delay of distribution on a   No distribution will be made on account of a disputed claim unless such claim is allowed [ by a final non-appealable order].
         disputed claim


5.03     Settlement of disputed       The Debtor will have the power and authority to settle and compromise a disputed claim with court approval and compliance
         claims                       with Rule 9019 of the Federal Rules of Bankruptcy Procedure.


            Article 6: Provisions for Executory Contracts and Unexpired Leases


6.01     Assumed executory                  none
         contracts and unexpired
         leases


                                      (b) Except for executory contracts and unexpired leases that have been assumed, and if applicable assigned, before the
                                          effective date or under section 6.01(a) of this Plan, or that are the subject of a pending motion to assume, and if
                                          applicable assign, the Debtor will be conclusively deemed to have rejected all executory contracts and unexpired leases
                                          as of the effective date.
                                            A proof of a claim arising from the rejection of an executory contract or unexpired lease under this section must be filed
                                            no later than 45 days after the date of the order confirming this Plan.


            Article 7: Means for Implementation of the Plan



                                      The Debtor will fund the Plan through operations. In addition the Debtor' principal LeMar Bowers may contribute to "Trust"
                                      portion of unpaid taxes.


            Article 8: General Provision


8.01     Definitions and rules of     The definitions and rules of construction set forth in §§ 101 and 102 of the Code shall apply when terms defined or
         construction                 construed in the Code are used in this Plan, and they are supplemented by the following definitions:
                                      [Insert additional definitions if necessary].


8.02     Effective Date               The effective date of this Plan is the first business day following the date that is 30 days after the entry of the confirmation
                                      order. If, however, a stay of the confirmation order is in effect on that date, the effective date will be the first business day
                                      after the date on which the stay expires or is otherwise terminated.


8.03     Severability                 If any provision in this Plan is determined to be unenforceable, the determination will in no way limit or affect the
                                      enforceability and operative effect of any other provision of this Plan.




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                Name

 8.04         Binding Effect:                    The rights and obligations of any entity named or referred to in this Plan will be binding upon, and will inure to the benefit of
                                                 the successors or assigns of such entity.


 8.05         Captions                           The headings contained in this Plan are for convenience of reference only and do not affect the meaning or interpretation of
                                                 this Plan.


 [8.06        Controlling Effect                 Unless a rule of law or procedure is supplied by federal law (including the Code or the Federal Rules of Bankruptcy
                                                 Procedure), the laws of the State of Virginia govern this Plan and any agreements, documents, and instruments
                                                 executed in connection with this Plan, except as otherwise provided in this Plan.]


 [8.07        Corporate Governance             Control of the reorganized Debtor will remain with Lemar Bowers.


 [8.08        Retention of Jurisdiction          Language addressing the extent and the scope of the bankruptcy court’s jurisdiction after the effective date of the plan.]


                     Article 9: Discharge


[Discharge if the Debtor is a corporation under Subchapter V]
If the Debtor’s Plan is confirmed under § 1191(a), on the effective date of the Plan, the Debtor will be discharged from any debt that arose before confirmation of this
Plan, to the extent specified in § 1141(d)(1)(A) of the Code, except that the Debtor will not be discharged of any debt:
                (i) imposed by this Plan; or
                (ii) to the extent provided in § 1141(d)(6).
If the Debtor’s Plan is confirmed under § 1191(b), confirmation of this Plan does not discharge any debt provided for in this Plan until the court grants a discharge on
completion of all payments due within the first 3 years of this Plan, or as otherwise provided in § 1192 of the Code. The Debtor will not be discharged from any debt:
                (i) on which the last payment is due after the first 3 years of the plan, or as otherwise provided in § 1192;
                or
                (ii) excepted from discharge under § 523(a) of the Code, except as provided in Rule 4007(c) of the Federal Rules of Bankruptcy Procedure.


                     Article 10: Other Provisions


                                                      [Insert other provisions, as applicable.]
                                                   Default: Pursuant to 1193(c)(3)(B), secured creditors retain their liens if not treated as unsecured
                                                  under the confirmation order. In the event of default under the Plan after 30 days notice to cure to the
                                                  Debtor and counsel for the Debtor, such creditors shall be entitled to relief from any stay then as in
                                                  effect and entitled to exercise their legal rights as to their collateral.




           Respectfully submitted,

                                      X     /s/ LeMar Allen Bowers                                                  LeMar Allen Bowers
                                            Individually and Designee of Civitas Health Services, Inc.]             [Printed name]



                                      X     /s/ W. Greer McCreedy, II                                               W. Greer McCreedy, II 27681
                                            Counsel for Civitas                                                     [Printed name]

                                            /s/ James E. Kane
                                            Counsel for LeMar Allen Bowers
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